Case 6:20-cv-00612-PGB-EJK Document 1-4 Filed 04/09/20 Page 1 of 1 PageID 41

JS 44 (Rev. 09/19)

The JS 44 civil cover sheet and the information contained herein neither replace nor suppl
provided by local rules of court, This form, approved by the Judicial Conference of the U

CIVIL COVER SHEET

purpose of initiating the civil docket sheet, (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS

GEICO MARINE INSURANCE COMPANY

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S, PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

Ted L. Shinkle, Esq.

1795 West Nasa Bivd., Melbourne, FL 32901 (321) 727-8100

DEFENDANTS
COREY BRINSON

NOTE;

Attorneys (if Known)

 

and TIFFANY PIERCE

County of Residence of First Listed Defendant

ement the filing and service of pleadings or other papers as required by law, except as
nited States in September 1974, is required for the use of the Clerk of Court for the

(IN U.S, PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

Il. BASIS OF JURISDICTION (Place an "X” in One Box Only)

 

(For Diversity Cases Only)

Il, CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff

and One Box for Defendant)

 

 

 

    

     

  

 

 

C1 US, Government 2% 3 Federal Question PTF DEF PTF DEF

“Plaintiff (U.S. Government Not a Party) Citizen of This State O 1! © ! Incorporated or Principal Place o4 04
of Business In This State

O 2 US. Govemment 0 4 Diversity Citizen of Another State O 2 © 2° Incorporated and Principal Place os o5

Defendant (Indicate Citizenship of Parties in Item II) of Business In Another State
Citizen or Subject of a O3 © 3. Foreign Nation o6 O6
Foreign Country

IV. NATURE OF SUIT (Place an "x" in One Box Only) Click here for: Nature of Suit Code Descriptions.

LE REMCONTRACT. ete SUTORTS 2 FORMRITURE/PENALTY ¢ [2 IKRUPTCY? 3 OTHER'STATUTES =:

6 110 Insurance PERSONAL INJURY PERSONAL INJURY  |0) 625 Drug Related Seizure & 422 Appeal 28 USC 158 © 375 False Claims Act

OK 120 Marine O 310 Airplane © 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal CO 376 Qui Tam (31 USC

130 Miller Act © 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729(a))

140 Negotiable [Instrument

150 Recovery of Overpayment
& Enforcement of Judgment

151 Medicare Act

{52 Recovery of Defaulted
Student Loans
(Excludes Veterans)

OOo o00

Liability
© 320 Assault, Libel &
Slander

(1 330 Federal Employers’

Liability
0 340 Marine
0 345 Marine Product

O 367 Health Care/
Pharmaceutical
Personal Injury
Product Liability

O 368 Asbestos Personal
Injury Product
Liability

O 820 Copyrights

0 830 Patent

CO 835 Patent - Abbreviated
New Drug Application

0) 840 Trademark

“PROPERTY: RIGHTS 2

 

 

PERSONAL PROPERTY

 

CES TABOR Mees

= SOCIAL SECURITY 5

 

 

Q 153 Recovery of Overpayment Liability
of Veteran’s Benefits 0 350 Motor Vehicle O 370 Other Fraud
© 160 Stockholders’ Suits © 355 Motor Vehicle O 37) Truth in Lending
© 190 Other Contract Product Liability C 380 Other Personal
© 195 Contract Product Liability | 360 Other Personal Property Damage
1 196 Franchise Injury © 385 Property Damage
© 362 Personal Injury - Product Liability
Medical Malpractice _
Le elo CIVIL RIGHTS: 2 [2 PRISONER PETITIONS:

 

 

 

210 Land Condemnation

© 220 Foreclosure

C1 230 Rent Lease & Ejectment
C) 240 Torts to Land

C1 245 Tort Product Liability
© 290 All Other Real Property

 

0 440 Other Civil Rights

O 441 Voting

0 442 Employment

0 443 Housing/
Accommodations

C1 445 Amer. w/Disabilities -

Employment

0 446 Amer, w/Disabilities -

Other
O 448 Education

Habeas Corpus:
O 463 Alien Detainee
(1 510 Motions to Vacate
Sentence
©) 530 General

C1 710 Fair Labor Standards
Act

© 720 Labor/Management
Relations

0 740 Railway Labor Act

O 751 Family and Medical
Leave Act

0 790 Other Labor Litigation

(0 791 Employee Retirement
Income Security Act

(0 861 HIA (1395ff)

0 862 Black Lung (923)

O 863 DIWC/DIWW (405(g))
(3 864 SSID Title XVI

CJ 865 RSI (405(g))

 

SO REDERAD TAX SUITS =:

1 870 Taxes (U.S. Plaintiff
or Defendant)

O 871 IRS—Third Party,

26 USC 7609

     

 

€) 535 Death Penalty

2h IMMIGRATION Sc

 

Other:
© 540 Mandamus & Other
O 550 Civil Rights
€) 555 Prison Condition
O 560 Civil Detainee -
Conditions of
Confinement

 

 

© 462 Naturalization Application
© 465 Other Immigration
Actions

 

 

© 400 State Reapportionment

O 410 Antitrust

G 430 Banks and Banking

O 450 Commerce

6 460 Deportation

© 470 Racketeer Influenced and
Corrupt Organizations

0 480 Consumer Credit
(15 USC 1681 or £692)

O 485 Telephone Consumer
Protection Act

© 490 Cable/Sat TV

O 850 Securities/Commodities/
Exchange

C890 Other Statutory Actions

‘S::] 01 891 Agricultural Acts

© 893 Environmental Matters

© 895 Freedom of Information
Act

CF 896 Arbitration

OC) 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

C1 950 Constitutionality of
State Statutes

 

V. ORIGIN (Place an "X" in

1 Original
Proceeding

VI. CAUSE OF ACTION

O 2 Removed from
State Court

One Box Only)
0

28 USC Sec.

 

Remanded from 04

Appellate Court

3

Reinstated or
Reopened
(specifi)

QO 5 Transferred from
Another District

Transfer

Cite the U.S, Civ} Statnte under which you are filing (Do not cite jurisdictional statutes unless diversity):

Brief description of cause:
Declaratory Judgment

6 Multidistrict
Litigation -

O 8 Multidistrict
Litigation -
Direct File

 

VH. REQUESTED IN

C) CHECK IF THIS IS A CLASS ACTION

DEMAND $

CHECK YES only if demanded in complaint:

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: © Yes YiNo
VIII. RELATED CASE(S)
‘See instructions):
IF ANY (See instructions) JUDGE DOCKET NUMBER __
ATE SIGNATURE OF ATTORNEY OF RECORD
04/09/20 /s/ Ted L. Shinkle
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG, JUDGE
